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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                             CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD and SHEILA
AL-SANABANI,                                                                   DEFENDANTS.

                                  ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Sheila Al-Sanabani’s motion to continue

trial [88] and Defendant Ali Obad’s joinder therein [90]. After due consideration of the motion, the

court finds as follows, to-wit:

        Trial is currently set for June 23, 2008. Defendants move to continue pursuant to 18 U.S.C.

§ 3161(c)(2) and (d)(1), arguing that they are entitled to at least thirty days after their arraignments

on the Superceding Indictment. Defendant Obad was arraigned on the Superceding Indictment June

19, 2008, while Defendant Al-Sanabani will be arraigned on the Superceding Indictment on June

20, 2008. The Government does not object to a continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(c)(2) and (d)(1), the period of delay from June 23, 2008 until the new trial date to be set in this

matter. The time also is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendants’ counsel more time to

adequately prepare for their client’s defense. As such, the ends of justice served by the granting of

this continuance outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant Sheila Al-Sanabani’s motion to continue trial [88] and Defendant Ali Obad’s

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joinder therein [90] are GRANTED;

       (2) Trial of this matter is continued as to Defendants Sheila Al-Sanabani and Ali Obad until

Monday, September 15, 2008 at 9:00 a.m. in the United States Courthouse in Greenville,

Mississippi;

       (3) The delay from June 23, 2008 to September 15, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is August 25, 2008; and

       (5) The deadline for submitting a plea agreement is September 2, 2008.

       SO ORDERED this the 19th day of June, A.D., 2008.


                                                    /s/ W. Allen Pepper, Jr.
                                                    W. ALLEN PEPPER, JR.
                                                    UNITED STATES DISTRICT JUDGE




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